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Scott Smith & Janel Donnelley, Plaintiffs MAR = 8 2013
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Mesa, AZ 85205 DISTRICT OF ARIZONA
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IN THE UNITED STATES DISTRICT COURT
OF ARIZONA
SCOTT SMITH; CASE NO: 2:12-cv-02333-GMS
JANEL DONNELLEY JUDGE G. MURRAY SNOW
Plaintiff(s)
VS.
WELLS FARGO BANK N.A.; PLAINTIFFS MOTION FOR
PREMIER FINANCIAL SERVICES) \/GPONTARY DISMISSAL
Defendant(s)
Plaintiffs Scott Smith & Janel Donnelley brings their Voluntary

Dismissal of the above titled action.
Therefore Plaintiffs will pursue their claims against each of the
defendants, in a court of competent jurisdiction at a future date.

Plaintiffs Voluntary Dismissal is without prejudice.

PLAINTIFF VOLUNTARY DISMISSAL
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Dated: March 8, 2013

Scott Smith, Plaintiff

Jéhel Donnelley, Plainti

PLAINTIFF VOLUNTARY DISMISSAL
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